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5
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6    Kevin Webber
7

8                                UNITED STATES DISTRICT COURT

9                   IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA

10
                                                   )   Case No. 2: 12-CR – 0095 - WBS
11   United States of America,                     )
                                                   )
12                 Plaintiff,                      )   STIPULATION AND ORDER
                                                   )   CONTINUING STATUS CONFERENCE
13          vs.                                    )   AND EXCLUDING TIME
                                                   )
14   Dennis William Estes and Kevin Webber,        )
                                                       Date: August 20, 2012
                                                   )
15                 Defendant                       )   Time: 9:30 a.m.
                                                   )   Judge: Hon William B. Shubb
16                                                 )
                                                   )
17                                                 )
                                                   )
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19
            IT IS HEREBY STIPULATED AND AGREED between plaintiff, United States of
20
     America, and defendants, Dennis Estes and Kevin Webber, through their respective attorneys,
21
     that the status conference scheduled for August 20, 2012 may be continued to October 1, 2012 at
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     9:30 a.m..
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            Counsel for both defendants seek additional time to continue to review the extensive
24
     audio and video discovery provided by the government and to do additional research and
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1    investigation. Additionally, all counsel are exploring various options toward resolving the case

2    against each defendant.

3           To afford time for necessary preparation and review, the parties agree that time under the

4    Speedy Trial Act should be excluded through October 1, 2012, pursuant to 18 U.S.C. §

5    3161(h)(7)(A) and that the ends of justice served by taking such action outweigh the best

6    interests of the public and the defendants in a speedy trial.

7    IT IS SO STIPULATED.

8
     DATED:         August 15, 2012                         BENJAMIN B. WAGNER
9                                                           United States Attorney
10
                                                            /s/ Jason Hitt, Esq. by
11
                                                            by Jan David Karowsky w/
                                                            Mr. Hitt’s approval
12
                                                    by
13                                                          Jason Hitt
                                                            Assistant U.S. Attorney
14

15   DATED:         August 14, 2012                         /s/ T. Zindel
                                                            Timothy Zindel
16
                                                            Assistant Federal Defender
17
                                                            Attorney for Dennis Estes
                                                            By Jan David Karowsky w/
18                                                          Mr. Zindel’s approval

19   DATED:         August 15, 2012                         JAN DAVID KAROWSKY
                                                            Attorney at Law
20                                                          A Professional Corporation

21                                                          /s/ Jan David Karowsky, Esq.
22
                                                    by
                                                            JAN DAVID KAROWSKY
23
                                                            Attorney for Defendant
24                                                          Kevin Webber

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                                                 ORDER
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2           GOOD CAUSE APPEARING, based on the Stipulation of the parties, IT IS HEREBY
3    ORDERED that the status conference is continued to October 1, 2012 at 9:30 a.m.. For the
4    reasons recited above, the Court finds that the ends of justice to be served by a continuance
5    outweigh the best interests of the public and the defendant in a speedy trial and therefore
6    excludes time under the Speedy Trial Act through October 1, 2012.
     IT IS SO ORDERED.
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     Dated: August 15, 2012
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